Case 2:04-cr-20415-.]PI\/| Document 73 Filed 05/25/05 Page 1 of 3 Page|D 80

IN THE UNITED STATES DISTRICT COUR'I'
FOR THE WESTERN DIS'I`RICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA
Plaintiff,
Criminal No. OLl - QO'-flg‘“' Ml

(30-Day Continuance)

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F\LED lN OPEN COURT

 

 

 

 

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\N\T\ALS: FW/

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Defendant(s),

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF` TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant{s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, With trial to.take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 25th day of May, 2005.

T'mis document entered on the docket Sheet in crampfiance
Wi:h sum :,~:~ ama/orez(b) FssrP nn . ' 'O.’)

 

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SO ORDERED this 25th day of May, 2005.

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PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

§§s?§?§§zz§;it§d`§tateb Attorney

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20415 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

.1 ames F. Schaeffer

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Honorable .1 on McCalla
US DISTRICT COURT

